      Case: 1:17-cv-02853 Document #: 19 Filed: 04/30/18 Page 1 of 1 PageID #:52



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JACQUELINE STEVENS,                             )
                                                 )
                               Plaintiff,        )
                                                 )
 v.                                              )    No. 17 C 2853
                                                 )
 U.S. DEPARTMENT OF HOMELAND                     )    Judge Pallmeyer
 SECURITY, IMMIGRATION AND                       )
 CUSTOMS ENFORCEMENT,                            )
                                                 )
                               Defendant.        )

                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant United States Department of Homeland Security, Immigration and Customs

Enforcement, by its attorney, John R. Lausch, Jr., United States Attorney for the Northern District

of Illinois, moves for summary judgment pursuant to Fed. R. Civ. P. 56 for the reasons stated in

the memorandum in support of its motion for summary judgment, which was filed

contemporaneously herewith.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Prashant Kolluri
                                                PRASHANT KOLLURI
                                                Assistant United States Attorney
                                                219 South Dearborn Street
                                                Chicago, Illinois 60604
                                                (312) 886-9085
                                                prashant.kolluri@usdoj.gov
